                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Dennis Keith Waters                                                   Docket No. 4:01-CR-23-lH

                               Petition for Action on Supervised Release

COMES NOW Mindy L. Threlkeld, Senior U.S. Probation Officer of the court, presenting a petition for
modification ofthe Judgment and Commitment Order of Dennis Keith Waters, who, upon an earlier plea
of guilty to 18 U.S.C. §2113(a), Bank Robbery, was sentenced by the Honorable Malcolm J. Howard, Senior
U.S. District Judge, on February 20, 2002, to the custody of the Bureau ofPrisons for a term of 168 months.
It was further ordered that upon release from imprisonment the defendant be placed on supervised release
for a period of 60 months.

    Dennis Keith Waters was released from custody on June 09,2015, at which time the term of supervised
release commenced.

     The defendant released to the Middle District of North Carolina and was living at the Oxford House for
'recovering addicts. On November 3, 2015, the court was notified that the defendant had returned to the
 Eastern District of North Carolina and was residing with a girlfriend. While in the Middle District ofNorth
 Carolina, the defendant admitted to using both marijuana and cocaine on September 19, 2015. On
 September 29, 2015, the defendant reported to the office and admitted to using cocaine for the last four
 days. The defendant was referred for inpatient treatment and completed his treatment on October 13, 2015.
 It was recommended that the defendant begin substance abuse treatment with our local treatment provider
 in the Eastern District ofNorth Carolina and be enrolled in our Surprise Urinalysis Program.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS: On May 31, 2016, the defendant reported to the probation office and admitted to using
marijuana on Apri123, 2016. Additionally, he advised he used marijuana on May 26, 2016. Results from
the National Lab revealed that the test taken on April27, 2016, was positive for marijuana and the test taken
on May 31, 2016, was positive for amphetamines. The defendant admits he only used marijuana, but was
given the drugs by a friend and is unsure if there was anything else mixed in with the marijuana. Cognitive
behavioral interventions were used and treatment has been increased. It is requested that the defendant
serve 10 days in the custody of the Bureau of Prisons as a sanction for his drug use.

The defendant signed a Waiver ofHearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

    1. The defendant shall be confined in the custody of the Bureau ofPrisons for a period of 10 days, as
       arranged by the probation office and shall abide by all rules and regulations of the designated
       facility.

Except as herein modified, the judgment shall remain in full force and effect.




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Reviewed and approved,                                 I declare under penalty of perjury that the foregoing
                                                       is true and correct.


Is/ Eddie J. Smith                                     Is/ Mindy L. Threlkeld
Eddie J. Smith                                         Mindy L. Threlkeld
Supervising U.S. Probation Officer                     Senior U.S. Probation Officer
                                                       31 0 Dick Street
                                                       Fayetteville, NC 28301-5730
                                                       Phone: 910-354-2539
                                                       Executed On: June 16, 2016

                                         ORDER OF THE COURT

                             is 20th day of June 2016, and ordered filed and
                             in the above case.


Malcolm J. Howard
Senior U.S. District Judge




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